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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                        No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

                    GOVERNMENT’S AMENDED EXHIBIT LIST




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                      100 SERIES—PHYSICAL EVIDENCE & SEARCH WARRANT MATERIALS


Ex. No.                  Description of Exhibit                  Witness           Date Offered   Date Admitted


  100     White Butcher’s Coat with “Kyle” lettering


 100A     Photo of White Butcher’s Coat with “Kyle” lettering


  101     Rubber Boots


 101A     Photo of Rubber Boots


  102     Black Jacket


 102A     Photo of Black Jacket


  103     Black Apron


 103A     Photo of Black Apron


  104     Wooden bow




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 104A     Wooden bow


  105     Box of Pelts


 105A     Photo of Box of Pelts


  106     Samsung Galaxy A21


 106A     Photo of Samsung Galaxy A21


  107     Pictures from Search of 35 Gully Oven Road—
          Residence


  108     Pictures from Search of 35 Gully Oven Road—
          Truck


                                       200 SERIES—PHOTO & VIDEO EVIDENCE


Ex. No.                  Description of Exhibit                  Witness           Date Offered   Date Admitted


  200     USCP compilation video (22 min.)


  201     Timelapse of CCTV 0944



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  202     Video from CCTV 0944


 202A     Stills from CCTV 0944


 202B     Video from CCTV 0944, highlighted


  203     RESERVED


  204     Video from CCTV 0074


 204A     Stills from CCTV 0074


  205     BWC from MPD Officer M.A. X6039BF8H
          2021-01-06 16:09 to 16:12


 205A     Stills from M.A.’s BWC X6039BF8H


 205B     Slow motion clip from 205


 205C     Stabilized Version of 205


  206     BWC from MPD Officer S.B. X6039BCAU
          2021-01-06 16:06 to 16:09



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 206A     Stills from S.B.’s BWC X6039BCAU


  207     BWC from MPD Officer M.D.
          X6039BK5E
          2021-01-06 16:09 to 16:09


 207A     Stills from M.D.’s BWC


  208     BWC from MPD Officer J.M.
          X6039BFSE
          2021-01-06 16:10 to 16:13


 208A     Stills form J.M’s BWC X6039BFSE


  209     BWC from MPD Officer C.W.
          X6039BEWQ
          2021-01-06 16:09 to 16:12


 209A     Stills from C.W.’s BWC X6039BEWQ


  210     BWC from MPD Officer C.B.
          X6039BKNU
          2021-01-06 16:10 to 16:13


 210A     Stills from C.B.’s BWC X6039BKNU



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  211     BWC from MPD Officer H.F.
          X6039BJJA
          2021-01-06 16:10 to 16:13


 211A     Stills from H.F.’s BWC X6039BJJA


 211B     Slow motion clip from 211


  212     BWC from MPD Officer A.G.
          X6039BB1A
          2021-01-06 16:10 to 16:12


 212A     Stills from A.G.’s BWC X6039BB1A


  213     RESERVED


  214     BWC from MPD Officer D.P.
          X6039BKEB
          2021-01-06 16:11 to 16:12


 214A     Stills from D.P.’s BWC X6039BKEB


  215     BWC from MPD Officer B.P.
          X6039BFMU
          2021-01-06 16:11 to 16:12



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 215A     Stills from B.P.’s BWC X6039BFMU


  216     https://www.facebook.com/lana.ohmes/videos/1565
          480046968986


  217     https://www.youtube.com/watch?v=BLgo9kQfgCo
          Clip time 8:25 to 11:05


  218     https://jan6archive.com/youtube/JGKrRLOAP98.mp
          4


  219     https://archive.org/download/oi5e3su5XEwyaC3tA/
          oi5e3su5XEwyaC3tA.mpeg4


  220     YouTube video
          https://www.youtube.com/watch?v=oyVoqMsC0A
          M
          Clip time 8:50 to 24:24


 220A     Stills from YouTube video
          https://www.youtube.com/watch?v=oyVoqMsC0A
          M


  221     https://www.facebook.com/SemperAnticusPhoto/vid
          eos/753693702219781



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  222     Clip from Political Trance Tribune


  223     hRVW9zpRAAxO_cvt.mp4


 223A     Cropped and zoomed clip from 223


 223B     Zoomed clip from 223


  224     LQKqUqbhU50v_cvt.mp4


  225     U0x7kbofMuDi_cvt.mp4


  226     YouTube video
          https://www.youtube.com/watch?v=cRCEMN-lq_o
          Clip time 13:34 to 13:47


 226A     Still from YouTube video
          https://www.youtube.com/watch?v=cRCEMN-lq_o


  230     Collection of Open Source Photos


  250     Town of Lebanon BOS Meeting, 01/07/2021
          https://www.youtube.com/watch?v=Udfi4aNdZlg




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                               300 SERIES—EVIDENCE RECOVERED FROM CELLPHONE


Ex. No.                 Description of Exhibit                   Witness           Date Offered   Date Admitted


  300     Cellebrite Summary


  301     Photo of Save America March


  302     Photo of Save America March


  303     Photo of Barriers


  304     Photo of Crowd and Washington Monument


  305     Photo Near Scaffolding


  306     Selfie Near Scaffolding


  307     Photo of Crowd from Above


  308     Photo of Head Staples




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  309     Photo of Bloody Butcher’s Coat with “Kyle”
          Lettering and Fur Pelt


  310     Screenshot of Airbnb Reservation


  311     Screenshot of Airbnb Receipt


  312     Text message from Justine Fitzsimons


                         400 SERIES—U.S. SECRET SERVICE & INTERSTATE COMMERCE


Ex. No.                 Description of Exhibit                  Witness           Date Offered   Date Admitted


  400     Secret Service Head of State Notification Worksheet


  401     Video of Vice President Pence Evacuation


  402     Mayor Bowser Curfew Order (Mayor’s Order 2021-
          002)


  403     Safeway Early Closure Notice for Washington, DC
          stores 1/6/2021




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  404     Safeway Mid-Atlantic Daily Sales Report
          (Redacted) 1/5/2021 – 1/7/2021


  405     Safeway Warehouse Shipments Lancaster PA to
          Washington, DC stores 1/3/2021 – 1/9/2021


                                500 SERIES—LEGAL AND CONGRESSIONAL RECORDS


Ex. No.                  Description of Exhibit                  Witness           Date Offered   Date Admitted


  500     U.S. Constitution—12th Amendment (Highlighted)


  501     Title 3, United States Code,
          Sections 15 to 18


  502     Senate Concurrent Resolution 1


  503     Video Montage—including Congressional Record
          and video footage from House and Senate


 503A     Source References for Video Montage




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                                                       600 SERIES—OTHER


Ex. No.                  Description of Exhibit                       Witness      Date Offered   Date Admitted


  600     Aerial Photo of U.S. Capitol Building


  601     Aerial Photo of U.S. Capitol Building with
          Perimeter Diagram


  602     Photo of U.S. Capitol with signs on metal barriers


  603     Photo of Area Closed sign on metal barrier


  604     Photo of Area Closed sign


  605     Diagram of US Capitol


  606     3D Model of Capitol (digital)


  607     3D Model of Capitol (digital)


  608     RESERVED




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  609     Photo of Jared Golden


  610     Voicemail to Congressman Jared Golden, U.S.
          Representative, Maine 2nd District


  611     Voicemail to Congressman Jared Golden, U.S.
          Representative, Maine 2nd District


  612     Facebook Message


  613     RESERVED


  614     RESERVED


  615     RESERVED


  616     Rochester Voice Article
          https://www.therochestervoice.com/west-lebanon-
          man-recounts-the-hope-then-terror-he-encountered-
          on-jan-6-cms-15693


  617     USCP Riot Shield


 617A     Picture of USCP Riot Shield



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  618     MPD Gas Mask


 618A     Picture of MPD Gas Mask


  619     MPD Riot Helmet with Face Shield


 619A     Picture of MPD Riot Helmet with Face Shield


                                                  700 SERIES—STIPULATIONS


Ex. No.                  Description of Exhibit                      Witness       Date Offered   Date Admitted


  700     Stipulations




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